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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
                                               LIMITED’S MOTION TO STAY
14         v.                                  DISCOVERY PENDING RESOLUTION
                                               OF MOTION TO DISMISS
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         [Filed Concurrently with Declaration of
16                                             Joseph N. Akrotirianakis and [Proposed]
                 Defendants.                   Order]
17
                                               Date:    July 22, 2020
18                                             Time:    9:00 a.m.
                                               Ctrm:    3
19                                             Judge:   Hon. Phyllis J. Hamilton
20
                                               Action Filed: 10/29/2019
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      DEFENDANTS’ MOTION TO STAY                                     Case No. 4:19-cv-07123-PJH
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 1
            TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2
            PLEASE TAKE NOTICE that on July 22, 2020 at 9:00 a.m., or as soon thereafter as the
 3
     matter may be heard, Defendants NSO Group Technologies Limited (“NSO”) and Q Cyber
 4
     Technologies Limited (“Q Cyber”) will bring on for hearing in before the Honorable Phyllis J.
 5
     Hamilton, Chief Judge for the United States District Court for the Northern District of California,
 6
     Oakland Division, Courtroom 3, this motion to stay discovery pending a final resolution of
 7
     Defendants’ motion to dismiss. In bringing this application, Defendants do not concede that they
 8
     are subject to the personal jurisdiction of this Court and reserve all rights to contest personal
 9
     jurisdiction. Defendants also do not concede that this Court has subject matter jurisdiction over
10
     this proceeding and reserve all rights to contest subject matter jurisdiction.
11
            This motion is based on this Notice of Motion and Motion, the Memorandum of Points and
12
     Authorities submitted herewith, the pleadings, papers and records on file in this case, and such oral
13
     argument as may be presented at any hearing.
14

15   DATED: June 16, 2020                               KING & SPALDING LLP
16

17
                                                        By: /s/ Joseph N. Akrotirianakis _________
18                                                          JOSEPH N. AKROTIRIANAKIS
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                                                            Attorneys for Defendants NSO GROUP
20                                                          TECHNOLOGIES LIMITED and Q
                                                            CYBER TECHNOLOGIES LIMITED
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       DEFENDANTS’ MOTION TO STAY                                                Case No. 4:19-cv-07123-PJH
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       THE COURT SHOULD STAY DISCOVERY PENDING FINAL RESOLUTION
              OF DEFENDANTS’ MOTION TO DISMISS
 3

 4            Plaintiffs urge this Court to subject an Israeli company to burdensome discovery, costly

 5   litigation, and existential liability for exporting a technology product regulated under Israeli law

 6   to foreign governments in foreign countries to use, in accordance with their own laws, to obtain

 7   information about their own foreign citizens outside the United States, and where those foreign

 8   governments independently determined the information was necessary to investigate and prevent

 9   crime and terrorism. Recognizing the need to resolve the motion to dismiss (Dkt. No. 78) before

10   proceeding, this Court already postponed the initial case management conference until it resolves

11   Defendants’ contentions that the Court lacks subject-matter jurisdiction of the case and personal

12   jurisdiction over the defendants. (Dkt. No. 45 at 8–11, Dkt. No. 62 at 9–11; Dkt. No. 45 at 11–18,

13   Dkt. No. 62 at 2–9.) Without a stay of discovery, however, NSO will be requested to disclose to

14   Facebook not only confidential business information about its proprietary technology, but also

15   information about national-security operations subject to regulations governing classified

16   information under both Israeli law and that of NSO’s sovereign clients. Facebook is a global

17   behemoth that can devote unlimited resources to acquire or destroy anyone who challenges its

18   relentless quest to secure an extravagantly lucrative monopoly over personal communications

19   worldwide, while expressly providing a safe space for criminals and terrorists to communicate and

20   intentionally depriving lawful governments of the ability to protect their citizens. This Court

21   should not allow Facebook to employ judicial tools in pursuit of its strategic commercial goals.

22            Plaintiffs have served several third-party subpoenas a first set of document requests. But

23 discovery is not appropriate until this Court—and, if necessary, the Ninth Circuit—resolves the

24 motion to dismiss. Moreover, if discovery proceeds and the Court subsequently grants the motion

25 to dismiss, the parties and Court will have incurred considerable unnecessary expenses; expenses

26 that are meaningless to Facebook but significant to NSO and the Court. Accordingly, the Court

27 should stay discovery until after the final resolution of the motion to dismiss.

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            A.      The Court Should Stay Discovery Because Defendants’ Motion to Dismiss Is
 1                  Based on Foreign Sovereign Immunity
 2          A broad consensus exists in the Ninth Circuit and beyond that discovery should be stayed
 3   pending a motion to dismiss based on sovereign immunity because “[a] defendant asserting
 4   immunity should be free from all burdens of litigation.” M.G. v. Metro. Interpreters & Translators,
 5   Inc., 2013 WL 690833, at *1 (S.D. Cal. Feb. 26, 2013); accord, e.g., Magassa v. Wolf, 2020 WL
 6   2307477, at *1 (W.D. Wash. May 8, 2020); Christian, 2016 WL 406340, at *1–2; Grand Canyon
 7   Skywalk Dev. LLC v. Steele, 2014 WL 60216, at *5 (D. Nev. Jan. 7, 2014); Tobar v. United States,
 8   2008 WL 3863893, at *2–3 (S.D. Cal. Aug. 19, 2008); Kling v. Hebert, 2020 WL 760398, at *2
 9   (M.D. La. Feb. 14, 2020); New York ex rel. James v. Pa. Higher Educ. Assistance Agency, 2020
10   WL 605944, at *2 (S.D.N.Y. Feb. 7, 2020); Geraci v. City of Austin, 2019 WL 6050728, at *1–2
11   (W.D. Tex. Nov. 14, 2019); Davis v. U.S. Army Reserve Through 321st Sustainment Brigade, 2019
12   WL 5777387, at *1–3 (M.D. La. Nov. 5, 2019); Clark v. Schwab, 2019 WL 4670209, at *2 (D.
13   Kan. Sept. 25, 2019); Cook v. Taylor, 2019 WL 1233853, at *1–2 (M.D. Ala. Mar. 15, 2019);
14 Gibbons v. McBride, 2014 WL 5460593, at *3 (S.D. Ga. Oct. 27, 2014); Doe v. Holy See, 2014

15   WL 1329985, at *6–7 (E.D. La. Apr. 2, 2014); Hwang v. Kan. St. Univ., 2012 WL 3292835, at *2
16   (D. Kan. Aug. 13, 2012); Bragg v. United States, 2010 WL 3835080, at *2 (S.D.W.V. Sept. 29,
17   2010). A stay of discovery is warranted because, if a party that asserts a defense of immunity from
18   litigation based on the principle of foreign sovereign immunity is forced to participate in discovery
19   before the claim is resolved, the party loses a primary benefit of the immunity.
20          Foreign sovereign immunity “is an immunity from suit rather than a mere defense to
21   liability.” Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct., 859 F.2d 1354, 1358 (9th Cir.
22   1988). It includes “immunity from discovery.” Packsys, S.A. de C.V. v. Exportadora de Sal, S.A.
23   de C.V., 899 F.3d 1081, 1094 (9th Cir. 2018) (internal quotation marks omitted); see Phaneuf v.
24   Rep. of Indonesia, 106 F.3d 302, 305 (9th Cir. 1997) (holding that district court erred by deferring
25   ruling on foreign sovereign immunity until after discovery); Christian v. Commonwealth of the N.
26   Mariana Islands, 2016 WL 406340, at *1 (D. N. Mar. Is. Feb. 2, 2016) (holding “sovereign
27   immunity necessarily entails a privilege against discovery”). In the analogous context of qualified
28   immunity, the Supreme Court held, “Until [the] threshold immunity question is resolved, discovery
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 1   should not be allowed.” Siegert v. Gilley, 500 U.S. 226, 231 (1991). There is “no logical reason

 2   why this rule should not apply where the defendant raises the defense of sovereign immunity.”

 3   Liverman v. Comm. on the Judiciary, U.S. House of Reps., 51 F. App’x 825, 827–28 (10th Cir.

 4   2002); Sandoval v. United States, 2011 WL 3682768, at *2 (D. Colo. Aug. 23, 2011).

 5          This Court should reach the same conclusion. If Defendants are forced to engage in

 6   discovery while their motion to dismiss is pending, they will “irretrievably lose the benefit of

 7   [their] immunity.” Christian, 2016 WL 406340, at *2. Indeed, the Court has already postponed the

 8   initial case management conference pending its decision on the motion to dismiss. (Dkt. No. 78.)

 9   The Court should take the same approach to discovery and impose a stay until it resolves the

10   motion to dismiss.

11          A stay is particularly appropriate here because Facebook is eager to obtain sensitive and

12   classified documents from NSO, which Facebook regards as a commercial adversary to be

13   annihilated because it stands in the way of Facebook’s quest to profit by selling access to a forum

14   free from oversight by any government, with or without legal process. Facebook seeks the

15   identities of NSO’s sovereign customers, its communications with those customers, and details

16   about those customers’ use of NSO’s proprietary technology, among other demands. (Declaration

17   of Joseph N. Akrotirianakis (“Akro. Decl.”) Exh. A, Requests Nos. 19, 24, 25.) After a review of

18   these requests, NSO has identified that they include requests for information that is either

19   confidential or detrimental to the national security of the State of Israel. As such, NSO has notified

20   the State of Israel of the discovery requests and is currently reviewing its legal obligations to

21   protect such information from disclosure. The State of Israel is also considering its position with

22   respect to the requests. If NSO is ever required to produce such sensitive national-security

23   information, it should not before this Court resolves its foreign sovereign immunity defense.

24          B.      Good Cause Exists to Stay Discovery Independent of Foreign Sovereign
                    Immunity
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            Even if NSO’s sovereign immunity defense were not sufficient alone to justify a stay, good
26
     cause still exists for this Court to exercise its authority “to stay discovery pending disposition of
27
     the motion[] to dismiss.” Alaska Cargo Transp., Inc. v. Alaska R.R. Corp., 5 F.3d 378, 383 (9th
28
       DEFENDANTS’ MOTION TO STAY                      3                         Case No. 4:19-cv-07123-PJH
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 1   Cir. 1993). Courts in this Circuit typically apply a two-part test to determine whether to stay

 2 discovery: “First, the pending motion must be potentially dispositive of the entire case or at least

 3 dispositive of the issue on which discovery is sought. Second, the court must determine whether

 4 the pending potentially dispositive motion can be decided without additional discovery.” United

 5 States ex rel. Howard v. Shoshone Paiute Tribes, 2012 WL 2327676, at *3 (D. Nev. June 19,

 6 2012).

 7           Both parts of the test are satisfied here. First, NSO’s motion is potentially dispositive of

 8 the entire case. If the Court agrees that Defendants are immune or that the Court lacks personal

 9 jurisdiction, it must dismiss the entire case. “Dispositive motions that raise issues of jurisdiction

10 . . . or immunity are common situations where a court might stay discovery ….” United States ex

11 rel. Howard v. Shoshone Paiute Tribes, 2012 WL 2327676, at *1 (D. Nev. June 19, 2012). That is

12 because, in the absence of a stay, considerable time and expense would be wasted on discovery if

13 the Court were to ultimately dismiss the case. Cook, 2019 WL 1233853, at *1.

14           Second, the motions to dismiss can be decided without additional discovery. Plaintiffs’

15 opposition to Defendants’ sovereign immunity claim rests largely on the legal argument that “[n]o

16 ‘derivative sovereign immunity’ exists.” (Dkt. No. 55 at 4.) To the extent that factual issues are

17 relevant, Defendants have introduced evidence supporting their defenses, while Plaintiffs have not

18 satisfied their burden at the pleading stage to counter Defendants’ evidence. (Dkt. No. 62 at 1.)

19 Unless Plaintiffs can satisfy that burden, they are not entitled to jurisdictional discovery. 1

20           Moreover, the Court lacks personal jurisdiction even if all of Plaintiffs’ allegations about

21 Defendants’ conduct are true. (Dkt. No. 62 at 4–8.) The question is a matter of law that requires

22 no additional discovery. See Eclipse Grp. LLP v. Target Corp., 2016 WL 8395077, at *7 (S.D.

23 Cal. May 26, 2016) (distinguishing “facial” and “factual” challenges to personal jurisdiction).

24 Plaintiffs have not identified any potential discovery that could subject Defendants to personal

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     1
    Plaintiffs have suggested that Defendants cannot be held to be immune without discovery. (Dkt.
26
   No. 55. at 8.) That is wrong. (Dkt. No. 62 at 1; Savage v. Glendale Union High Sch., 343 F.3d
27 1036, 1039 n.2 (9th Cir. 2003).) In any event, Plaintiffs’ request for jurisdictional discovery is too
   broad and general to justify discovery in light of Defendants’ “legitimate claim to immunity from
28 discovery.” Packsys, 899 F.3d at 1094 (internal quotation marks omitted).
         DEFENDANTS’ MOTION TO STAY                    4                        Case No. 4:19-cv-07123-PJH
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 1   jurisdiction. They request discovery only to support their speculation about Defendants’ use of

 2   California-based servers and funding (Dkt. No. 55 at 19 n.13), but any use of such servers and

 3   funding would be inadequate as a matter of law to support personal jurisdiction (Dkt. No. 62 at 5–

 4 7). Any discovery into those topics would, therefore, be “futile.” Martinez v. Aero Caribbean, 764

 5   F.3d 1062, 1070–71 (9th Cir. 2014). 2

 6   II.     CONCLUSION
 7           For good cause shown, the Court should stay discovery until Defendants’ motion to dismiss
 8   is finally resolved.
 9

10   DATED: June 16, 2020                             KING & SPALDING LLP
11

12
                                                      By: /s/ Joseph N. Akrotirianakis _________
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15                                                        TECHNOLOGIES LIMITED and Q
                                                          CYBER TECHNOLOGIES LIMITED
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     If the Court determines that jurisdictional discovery is appropriate, it should stay all other
   discovery. Liberty Media Holdings, LLC v. Letyagin, 2012 WL 3135671, at *5 (D. Nev. Aug. 1,
26
   2012). And because of Defendants’ sovereign immunity defense, any discovery must “be ordered
27 circumspectly   and only to verify allegations of specific facts crucial to an immunity
   determination.” Packsys, 899 F.3d at 1094 (internal quotation marks omitted). Plaintiffs have not
28 requested any jurisdictional discovery with specificity.
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         DISCOVERY
